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              Exhibit M
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1                    UNITED STATES DISTRICT COURT
                      DISTRICT OF SOUTH CAROLINA
2                         CHARLESTON DIVISION
3        MST, LLC,
4                    Plaintiff,
5               vs.     C/A NO. 2:22-cv-00874-DCN
6        NORTH AMERICAN LAND TRUST AND GEORGETOWN
         MEMORIAL HOSPITAL,
7
                     Defendants.
 8       ________________________________________
 9       GEORGETOWN MEMORIAL HOSPITAL,
10                   Third-Party Plaintiff,
11              vs.
12       KYLE YOUNG AND JACQUELINE YOUNG,
13                   Third-Party Defendants.
14
         30(b)(6)
15       DEPOSITION OF:  BRUCE BAILEY
16       DATE:           January 28, 2025
17       TIME:           9:10 a.m.
18       LOCATION:       NELSON, MULLINS, RILEY &
                         SCARBOROUGH
19                       3751 Grissom Parkway
                         Suite 300
20                       Myrtle Beach, SC
21       TAKEN BY:       Counsel for the Plaintiff
22       REPORTED BY:    Lauren A. Balogh, RPR
         ___________________________________________________
23
24
25

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1                   Q.    How would you describe it?                     I'm just
2        trying to find a word.                Everybody is objecting.
3                   A.    The way we always talked about was it
4        was transferred to the other property as described
5        by the five-acre home site over by the river.                           We
6        -- we always described that it was a transfer of
7        the easement from the 56 we wanted to this other
8        acreage elsewhere on the plantation.
9                   Q.    In a nutshell, the permanent
10       conservation easement that was on the 56.75 acres
11       that was purchased was no longer on it, correct?
12                        MR. MORAN:           Object to the form.
13                        MS. TILLMAN:           Object to the form.
14       BY MR. WALKER:
15                  Q.    According to your understanding?
16                  A.    I guess that's perfectly true, yes.
17                  Q.    This synopsis says the next step in the
18       process will be to have the site appraised to
19       ensure there was no issues with inurement which
20       could have negative ramifications for NALT as well
21       as the owners of the site.                  What is -- what does
22       this mean?       What is the concern with inurement?
23       What did you understand that to be?
24                        MR. MORAN:           Object to the form.
25                        THE WITNESS:           Before this I wouldn't

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1        upon?
2                   A.    Yeah, sure.
3                   Q.    What do you recall about whether or not
4        the hospital received assurance from NALT that it
5        would amend the easement?
6                         MS. TILLMAN:           Object to the form.
7                         THE WITNESS:           I don't recall any
8        assurance.       I mean, our position was, you know,
9        this was a more or less contingency on -- in our
10       minds on the purchase of the property.                          If the
11       easement wasn't transferred, relocated, pick your
12       -- pick your word, then we wouldn't buy it.                          And so
13       when we got, you know, a response from NALT, an
14       opinion from our legal counsel that the easement
15       has been taken care of and the property you want to
16       buy is unencumbered and can be developed, then,
17       okay, we cleared that hurdle and we're ready to
18       purchase.
19                        Now, there are probably other
20       contingencies, civil and, you know, the standard
21       land contingencies you always have, but that was --
22       obviously the first hurdle was that conservation
23       easement.       Once we were told that was dealt with,
24       then we were kind of satisfied that it was dealt
25       with.

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1                   Q.    Okay.      And if you look at GMH page
2        000147, do you see that there is a signature block
3        there?
4                   A.    I do.
5                   Q.    And is it your understanding that this
6        document is signed by both Kyle Young and
7        Jacqueline Young?
8                   A.    It is.
9                         MS. BAUM:         Objection.
10       BY MR. MORAN:
11                  Q.    And Georgetown Memorial Hospital's
12       claims against Jacqueline Young are based on the
13       warranties contained in this title of real estate
14       conveying the hospital parcel to Georgetown
15       Memorial Hospital; is that your understanding?
16                  A.    That is.
17                  Q.    Okay.      All right.           Going back to when
18       Mr. Walker was questioning you, we talked about the
19       process of amending the conservation easement.                          Do
20       you remember that?
21                  A.    I do.
22                  Q.    Okay.      Who did Georgetown Memorial
23       Hospital rely on to handle the amendment process of
24       the conservation easement?
25                  A.    Mr. Stacy.

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1                   Q.    Okay.      And was it your understanding
2        that Mr. Stacy would work with North American Land
3        Trust to make sure that the conservation easement
4        was validly amended before the hospital purchased
5        the 65-acre hospital parcel?
6                         MR. WALKER:          Object to the form.
7                         THE WITNESS:           That's correct.
8        BY MR. MORAN:
9                   Q.    Prior to the Georgetown Memorial
10       Hospital purchasing the 65-acre hospital parcel,
11       immediately prior, did it have any reservations or
12       concerns that the amendment to the conservation
13       easement was invalid or otherwise not legally
14       enforceable?
15                  A.    No, we -- again, we assumed once our
16       attorney signed off on it, NALT signed off on it,
17       it was rock solid.
18                  Q.    Okay.      And if the hospital had any
19       concerns about the validity or legal enforceability
20       of the amendment to the conservation easement, what
21       would it have done in relation to the transaction?
22                  A.    We would have asked a lot of questions
23       and if we weren't satisfied with the answers, we
24       wouldn't have bought it.
25                  Q.    Mr. Bailey, is it your understanding

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1                   Q.    Okay.      And that would be approximately
2        11 years after MST, LLC first purchased Weehaw
3        Plantation from Kyle and Jacqueline Young; is that
4        your understanding?
5                   A.    Yes.
6                   Q.    How, if at all, has the 11-year time
7        difference from when MST purchased Weehaw
8        Plantation to challenging the amendment in 2021
9        impacted GMH in terms of its ability to sell the
10       property or ability to adequately defend this
11       lawsuit?
12                        MR. WALKER:          Object to the form of the
13       question.
14                        THE WITNESS:           Well, it's -- it's very
15       problematic, right?             I mean, you've heard my
16       answers today.          It's 11 years since that
17       transaction -- longer than that now that we're here
18       today in 2024, right?              I mean, you can't recall
19       everything.        You can't remember everything.
20       Document production.             You know, we -- we have our
21       own retention policies and when we hit those marks,
22       sometimes things go away, right?                      So it's tough to
23       defend ourselves from 2008 to 2015.
24                        And, you know, and now, not to be too
25       snarky about it, but Georgetown County has finally

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1        decided they want to approve some housing projects
2        and create some housing inventory for the
3        community.       We've got interest in our property
4        after 10, 15 years, but we can't sell it because of
5        this.      So yeah, it's very problematic.                      I've got a
6        $3.3 million rock around my neck while I'm trying
7        to tread water.
8        BY MR. MORAN:
9                   Q.    And you mentioned some -- some
10       interest, that certain developers have approached
11       Georgetown Memorial Hospital about purchasing the
12       hospital parcel; is that right?
13                  A.    Yes.
14                  Q.    And Georgetown Memorial Hospital
15       actually received and executed a letter of intent
16       from Meritage Homes to purchase the hospital parcel
17       for the purchase price of $3.5 million; is that
18       right?
19                  A.    Yes.
20                  Q.    Has Georgetown Memorial Hospital been
21       able to proceed forward with that transaction?
22                  A.    No.
23                  Q.    Why not?
24                  A.    Because we can't clear the property of
25       this issue.

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1                   Q.    And has Georgetown Memorial Hospital
2        been able to recoup any of the money that it has
3        put into the 65-acre hospital parcel when it
4        purchased it?
5                   A.    No.
6                   Q.    From a practical standpoint, how does
7        the inability to recoup 3.3 to $3.5 million impact
8        Georgetown Memorial Hospital and Georgetown
9        Hospital System?
10                  A.    Well, it's 3.3 million I don't have to
11       buy equipment, supplies, hire a nurse.                          I mean, as
12       I said earlier, our only reason for being as a
13       nonprofit hospital system is to take care of our
14       community and so it would be nice to be able to
15       monetize and cash out on that property so we can do
16       other things with it that benefit the community.
17                  Q.    And as of now, without the ability to
18       sell it, is it fair to say that that parcel is a
19       $3.3 million loss to Georgetown Memorial Hospital?
20                        MR. WALKER:          Object to the form of the
21       question.
22                        THE WITNESS:           As it stands today it is,
23       yes.
24       BY MR. MORAN:
25                  Q.    How has the inability to sell the

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1        hospital parcel impacted Georgetown Memorial
2        Hospital from a bottom line standpoint?
3                          MR. WALKER:          Object to the form of the
4        question.
5                          THE WITNESS:           Yeah, I mean, it's --
6        it's just $3.3 million that's just locked in a
7        vault that we can't get access to it, right?                          So
8        when we have to buy equipment, spend capital, you
9        can't count on that asset to help you do that,
10       which is very problematic.
11       BY MR. MORAN:
12                  Q.     We've looked at some site plans,
13       project narratives for the planned hospital that
14       was going to be developed on the -- the Weehaw
15       hospital tract; is that right?
16                  A.     Yes, we have.
17                  Q.     Now, prior to North American Land Trust
18       agreeing to amend the conservation easement and
19       ultimately executing the amendment to the
20       conservation easement, is it your understanding
21       that North American Land Trust was provided with
22       conceptual site plans for that property?
23                  A.     I would assume they had some idea what
24       we were planning, yes.
25                  Q.     And is it your understanding that North

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